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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA




   PATRICK GAYLE, et al.                                                Case No. 20cv21553

   Petitioners,

   v.

   MICHAEL W. MEADE,
   Field Office Director, Miami Field Office, U.S.
   Immigration and Customs Enforcement et al.,

   Respondents.

   ______________________________________________

                       DECLARATION OF ACTING OFFICER IN CHARGE
                                  LIANA J. CASTANO

   I, Liana J. Castano, Acting Officer in Charge (OIC), make the following statements under oath and
   subject to the penalty of perjury:

          1. I am employed by U.S. Department of Homeland Security (DHS), Immigration and
             Customs Enforcement (ICE), and currently serve as the Acting OIC of the Krome
             Service Processing Center (Krome). I am also an Assistant Field Office Director
             (AFOD) at Krome. I have held this position since September 2, 2018.

          2. I provide this declaration based on my personal knowledge, belief, reasonable inquiry,
             and information obtained from various records, systems, databases, other DHS
             employees, employees of DHS contract facilities, and information portals maintained
             and relied upon by DHS in the regular course of business.

          3. In my current position, I am responsible for oversight of detained case management at
             Krome Service Processing Center, as well as Glades County Detention Center.

          4. This declaration supplements my prior declarations and provides updated information
             regarding efforts to mitigate the risk of COVID-19 at Krome and Glades.

          5. As of 6:00 a.m. on June 1, 2020, Krome reports the following information:

              a. There are 3 detainees with a laboratory confirmed case of COVID-19 housed at
                 Krome who are being medically isolated per CDC guidelines.
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            b. 38 Krome detainees have been tested for COVID- 19.

            c. There are 13 staff members with a laboratory confirmed case of COVID-19. They
               have been removed from the schedule and are following CDC quarantine
               guidelines.

            d. To date, there is one group of detainees subject to cohorting:

                     x Pod 2, which includes 37 detainees, the projected end date for their cohort
                       is June 11, 2020.

                     x The group is subject to cohorting measures due to the possible exposure to
                       a person who tested positive for COVID-19. Housing units under cohort
                       status are monitored daily and issued surgical masks. The CDC
                       recommends that "if cohorted, quarantined individuals should wear face
                       masks at all times to prevent transmission."

            e. To date, all detainees subject to cohorting are asymptomatic for COVID-19.

            f. When a housing unit is placed under cohort status, IHSC performs daily dormitory
               rounds. I have been informed by IHSC that a dormitory round consists of a nurse
               visiting the housing unit daily, who provides education regarding proper hygiene,
               to include hand washing. The nurse also provides information to the detainee
               population regarding procedures in place for health care and the sick call process.
               The medical staff conducting daily dormitory rounds also assesses the population
               for any individuals reporting symptoms and refers the detainee to the clinic for
               evaluation. If symptoms are not suspicious for COVID 19 or other respiratory
               illness, the patient is treated based on history and symptoms presentation. If the
               symptoms are suspicious for COVID 19, a surgical mask is placed on the detainee's
               face and he is placed in isolation, pending further testing to rule out non COVID
               19 infection (e.g. influenza A or B)and/or referral to emergency department for
               further evaluation and testing. Sick call and the pill line are conducted by medical
               staff at each of the housing units.

            g. I have been advised by the medical staff at Krome that the medical facility has a
               limited number of COVID 19 test kits provided by LABCORP. At present,
               suspected cases that have tested negative for Influenza A and B have been referred
               to a community hospital for management and COVID 19 testing, as the turnaround
               time for the in-hospital test is only 24-48 hours, provided there is no back log, as
               opposed to 5-6 days with LABCORP.

                       x   Cohorting a group of people that have been exposed to a person with
                           suspected or confirmed COVID 19 infection is the prescribed
                           management by the Immigration Health Services Corps as per Interim
                           Reference Sheet on 2019-Novel Coronavirus (COVID 19): Detainee
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                           Care Version 9.1, April 6, 2020. Space constraint dictates the use of
                           group cohort vs. individual isolation.

         6. Krome has populations within its approved capacities and is not overcrowded. As of
            June 1, 2020, the population is at 60% capacity, in compliance with the guidelines
            published on April 10.

         7. Krome’s population has been under 75% capacity in accordance with the PRR since
            May 7, 2020, for the past 3.5 weeks.

         8. Based on the population reduction at Krome, ICE maintains an average of 23 empty
            beds in each housing unit of building 8. To achieve maximum social distancing in
            building 8, detention staff have listed as “off limits” certain bunk beds that were
            identified as not having 6 feet of space between them. Detention staff limit bed
            assignments and only use those beds that allow maintenance of approximately 6 feet
            distance. Beds are arranged to follow head to toe sleeping arrangements. Both top
            and bottom bunks are used for each usable bunk.

         9. Based on the population reduction at Krome, ICE maintains an average of 25 empty
            beds in Building 11. When we assign beds in this housing unit, our goal is to alternate
            bed assignment in a top / bottom fashion to maximize social distancing, as follows:

          TOP ASSIGNED                  EMPTY                         TOP ASSIGNED
          EMPTY                         BOTTOM ASSIGNED               EMPTY

         10. Since the average distance between bunks in building 11 is slightly over 3 feet, then
             skipping a bunk results in a distance between detainees of 6 feet.

         11. Based on the population reduction at Krome, ICE maintains an average of 20 empty
             beds in Building 14A. When we assign beds in this housing unit, our goal is to leave
             an empty bunk bed in between and assign the top bunk on one side and the bottom bunk
             on the other side to separate the bunks to maximize social distancing, as follows:

          TOP ASSIGNED                  EMPTY                         EMPTY
          EMPTY                         EMPTY                         BOTTOM ASSIGNED

         12. Based on the population reduction at Krome, ICE maintains an average of 30 empty
             beds in Building 14B. When we assign beds in this housing unit, our goal is to leave an
             empty bunk bed in between and assign the top bunk on one side and the bottom bunk
             on the other side to maximize the distance between bunks, as follows:

          TOP ASSIGNED                  EMPTY                         EMPTY
          EMPTY                         EMPTY                         BOTTOM ASSIGNED

         13. Since the average distance in building 14 is approximately 3.5 feet, then skipping a
             bunk results in over 6 feet of space between detainees.
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         14. Between April 9 2020 and May 27, 2020, staff at Krome have issued the detainee
             population 6,120 face masks.

         15. As of 9:00 a.m. on June 1, 2020, Glades County Detention Center reports the
            following information:

                        x   There are 2 detainees with a laboratory confirmed case of COVID-19
                            housed at Glades who are being medically isolated per CDC guidelines.
                        x   57 Glades detainees have been tested for COVID- 19.
                        x   In the event a detainee exhibits flu like symptoms, the detainee is
                            immediately isolated from the rest of the population and a mask and
                            gloves are issued to him/her. A detainee with a suspected case of
                            COVID-19 may also be placed in a negative pressure cell. If symptoms
                            are suggestive of COVID-19, the detainee will be transported for further
                            testing.

                x   There are six confirmed case of COVID-19 of a Sheriff’s Deputy at Glades
                    County Detention Center. They are no longer on the schedule and are self-
                    quarantined.

                x   There are 320 detainees who are cohorted as a precautionary measure, per the
                    established protocol. These detainees are medically assessed twice a day. All
                    detainees remain afebrile. The cohort is scheduled to end 14 days after the
                    initiation of the cohort, on June 3, 2020.

                x   There have been zero ICE officers who have tested positive for COVID-10 at
                    the Glades County Detention Center.

         16. Glades County Detention Center has populations within its approved capacities and is
             not overcrowded. As of June 1, 2020, the population is at 69% capacity, in compliance
             with the guidelines published on April 10.

         17. Glades’ population as consistently been below 75% capacity, in accordance with the
             PRR since May 7, 2020, for the past 3.5 weeks.

         18. Based on the population reduction at Glades, ICE maintains an average of 100 empty
             beds in the male population units which house ICE detainees. Based on the population
             reduction at Glades, ICE maintains an average of 37 empty beds in the female
             population unit which houses ICE detainees.

         19. To achieve social distancing in the dormitories, Glades staff limits bunk bed assignment
             and only use those that allow maintenance approximately 6 feet distance. Glades
             continues to promote and encourage head to toe sleeping arrangements. Housing units
             are configured to 6 to a cubicle. Two bunk beds are located against opposite sides of
             the partition, which allow for 5’9’’ of distance between each bed and 2’11” distance
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            between the top and bottom bunk. Two single beds are located in front of each of
            the bunk bed with 8.5” of separation from the bunkbed; the distance increases to
            approximately 6’ when head to toe sleeping arrangements are observed. The single
            beds are located opposite of each other, which allow for 5’9’’ of distance between each
            bed, a photo of which has been attached as Exhibit A.

         20. Between May 1, 2020 and May 29, 2020, Glades staff have issued the detainee
             population approximately 2,000 face masks.


   DATED: June 1, 2020
                                                                   Digitally signed by LIANA J
                                                                   CASTANO
                                              _____________________________________
                                                                   Date: 2020.06.01 16:48:55 -04'00'

                                              Liana J. Castano
                                              Assistant Field Office Director
                                              Enforcement and Removal Operations
                                              U.S. Immigration and Customs Enforcement
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                          Exhibit A
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